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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                             Case No. 14-cr-20780
                                                    Hon. Matthew F. Leitman
v.

CURTIS SCOTT,

          Defendant.
________________________________________________________________/

        ORDER DIRECTING GOVERNMENT TO SUPPLEMENT ITS
     RESPONSE (ECF No. 675) TO DEFENDANT’S MOTION TO VACATE,
         SET ASIDE, OR CORRECT HIS SENTENCE (ECF No. 663)

       On March 9, 2016, a jury convicted Defendant Curtis Scott of aiding and

abetting a carjacking, aiding and abetting the discharge of a gun in furtherance of a

carjacking, and making false statements to a federal law enforcement officer. (See

Verdict Form, ECF No. 92.) The Court sentenced Scott to a term of 180 months in

custody. (See Judgment, ECF No. 585, PageID.5660.)

       On September 10, 2021, Scott filed a motion to vacate his convictions and

sentence and for a new trial pursuant to 28 U.S.C. § 2255. (See Mot., ECF No. 663.)

The Government opposes Scott’s motion. (See Gvt. Resp., ECF No. 675.) The

Government contends that “[c]laims raised on direct appeal and resolved adversely

to [a] petitioner should be deemed unreviewable under § 2255 as previously

litigated,” and it insists that “Scott’s motion is a laundry list of issues he raised


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[unsuccessfully] both in his motion for a new trial before this Court, and in his appeal

to the Sixth Circuit.” (Id., PageID.6286.)        However, the Government has not

specifically identified any of Scott’s arguments that he previously raised or that this

Court or the Sixth Circuit previously rejected.

      The Court would be substantially aided by a supplemental submission from

the Government that (1) identifies all of the arguments in Scott’s current Section

2255 motion that he previously raised and (2) identifies where in the record either

this Court or the Sixth Circuit rejected those arguments. The supplement can take

the form of completing the following chart:


  SCOTT ARGUMENT               WHERE IN RECORD              WHERE IN RECORD
                                RAISED BEFORE                  REJECTED

                                (Docket number and           (Docket number and
                                     PageID)                      PageID)


      The Government shall file this supplement with the Court by no later than

December 6, 2021.

             IT IS SO ORDERED.

                                        s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE
Dated: October 20, 2021




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       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on October 20, 2021, by electronic means and/or
ordinary mail.

                                           s/Holly A. Monda
                                           Case Manager
                                           (810) 341-9761




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